     Case 2:20-cr-00298-APG-EJY Document 91 Filed 10/12/21 Page 1 of 4



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 2 BROWN BROWN & PREMSRIRUT
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   Phone: (702) 384-5563
 4 Fax: (702) 385-1023
   Attorney for Defendant
 5
 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                   )
                                               )
 9                     Plaintiff,              )
                                               )                  2:20-CR-00298-APG-EJY
10   vs.                                       )
                                               )
11   LEILANI BLANCO,                           )
                                               )
12                     Defendants.             )
     __________________________________________)
13
14                                    STIPULATION TO TRAVEL
15
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
16
     Acting United States Attorney, and Kimberly A. Sokolich, Assistant United States Attorney,
17
     counsel for the United States of America, and David T. Brown, counsel for defendant, that Ms.
18
     Blanco be permitted to travel to Hawaii from November 8 to November 17, 2021.
19
            This stipulation is entered into for the following reasons:
20
            1.      Ms. Blanco is from Hawaii and would like the opportunity to visit family.
21
            2.      Ms. Blanco has been in regular contact with the undersigned and has been
22
     compliant with pretrial.
23
            3.      The undersigned has spoken with Officer Hopkins, who has been supervising
24
     Ms. Blanco while on pretrial, and Ms. Hopkins stated that she had no objection or concerns to
25
     Ms. Blanco being given permission for this travel request.
26
            4.      One of the Terms of Ms. Blanco’s pretrial release is that she get approval to travel
27
     outside the continental United States.
28
            5.      The request is made in good faith while this case is pending.
     Case 2:20-cr-00298-APG-EJY Document 91 Filed 10/12/21 Page 2 of 4



 1         6.     The parties request that Ms. Blanco be permitted to travel from November 8
 2 through November 17, 2021 to Hawaii to visit family.
 3
           DATED this 11th day of October, 2021.
 4
 5                                             David Brown /s/
 6                                             _______________________________
                                                DAVID T. BROWN, ESQ.
 7                                              Counsel for Defendant
 8
                                               Kimberly Sokolich /s/
 9
                                               ____________________________
10                                             KIMBERLY A. SOKOLICH, ESQ.
                                               United States Attorney
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     Case 2:20-cr-00298-APG-EJY Document 91 Filed 10/12/21 Page 3 of 4



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   Attorney for Defendant
 5
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF NEVADA
 9
10 UNITED STATES OF AMERICA,             )
                                         )
11                     Plaintiff,        )                  2:20-CR-00298-APG-EJY
                                         )
12   vs.                                 )
                                         )                  FINDINGS OF FACT, CONCLUSIONS
13   LEILANI BLANCO,                     )                  OF LAW, AND ORDER
                                         )
14                     Defendants.       )
     ____________________________________)
15
16
                                            FINDINGS OF FACT
17
               Based on the pending Stipulation of counsel, and good cause appearing therefore, the
18
     Court finds that:
19
               1.     Ms. Blanco is from Hawaii and would like the opportunity to return to visit
20
     family.
21
               2.     Ms. Blanco has been in regular contact with the undersigned and has been
22
     compliant with pretrial.
23
               3.     The undersigned has spoken with Officer Hopkins, who has been supervising
24
     Ms. Blanco while on pretrial, and Ms. Hopkins stated that she had no objection or concerns to
25
     Ms. Blanco being given permission for this travel request.
26
               4.     One of the Terms of Ms. Blanco’s pretrial release is that she get approval to travel
27
     outside the continental United States.
28

                                                       3
     Case 2:20-cr-00298-APG-EJY Document 91 Filed 10/12/21 Page 4 of 4



 1         5.     The request is made in good faith while this case is pending.
 2         6.     The parties request that Ms. Blanco be permitted to travel from November 8
 3 through November 17, 2021 to Hawaii to visit family.
 4                                              ORDER
 5         IT IS HEREBY ORDERED that Leilani Blanco be permitted to travel from Georgia to
 6 Hawaii November 8 through November 17, 2021 to visit family.
 7         DATED this 12th day of October, 2021.
 8
 9                                               ___________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
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